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                                             #:326071



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                 7
                                          UNITED STATES DISTRICT COURT
                 8
                                        CENTRAL DISTRICT OF CALIFORNIA
                 9
                                                   SOUTHERN DIVISION
                10
                   MATTEL, INC., a Delaware                  CASE NO. CV 04-9049 DOC (RNBx)
                11 corporation,
                                                             Consolidated with
                12                                           Case No. CV 04-09059
                                    Plaintiff,               Case No. CV 05-02727
                13
                                                             Hon. David O. Carter
                14       vs.
                                                             NOTICE OF APPEAL
                15 MGA ENTERTAINMENT, INC., a
                16 California corporation, et al.,           Hearing Date:        TBD
                                                             Time:                TBD
                17                 Defendant.                Place:               Courtroom 9D
                18
                   AND CONSOLIDATED ACTIONS
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00505.07975/4279771.3                                                   Case No. CV 04-9049 DOC (RNBx)
                        MOTION
                                                                     MATTEL, INC.’S NOTICE OF APPEAL
             Case 2:04-cv-09049-DOC-RNB Document 10707 Filed 08/11/11 Page 2 of 2 Page ID
                                             #:326072



                  1        Notice is hereby given that plaintiffs and counter-defendants Mattel, Inc. and
                  2 Mattel de Mexico, S.A. de C.V. hereby appeal to the United States Court of Appeals
                  3 for the Ninth Circuit from the final judgment entered August 4, 2011, as well as any
                  4 and all interlocutory rulings, decisions and orders that gave rise to the judgment. A
                  5 true and accurate copy of the final judgment is attached as Exhibit A.
                  6        Pursuant to Ninth Circuit Rule 3-2, a Representation Statement identifying all
                  7 parties to the action, along with the names, addresses, and telephone numbers of
                  8 their respective counsel, is attached as Exhibit B.
                  9 DATED: August 11, 2011               QUINN EMANUEL URQUHART &
                                                         SULLIVAN, LLP
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                                                          By /s/ John B. Quinn
                12                                          John B. Quinn
                                                            Attorneys for Mattel, Inc., and Mattel de
                13                                          Mexico, S.A. de C.V.

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                                                                            MATTEL, INC.’S NOTICE OF APPEAL
